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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §                     2:03-CR-19(25)
                                                  §
 CARL CHANCE                                      §


                          REPORT AND RECOMMENDATION OF
                        THE UNITED STATES MAGISTRATE JUDGE

        On May 22, 2007, the court held a hearing on the government’s Petition to Revoke

 Supervised Release. The government was represented by Assistant United States Attorney Mr.

 Richard Moore. The defendant was represented by Ms. Tonda Curry.

        Carl Chance was sentenced on August 27, 2004, before The Honorable U.S. District Judge

 T. John Ward of the Eastern District of Texas after pleading guilty to the offense of Possession With

 Intent to Distribute Cocaine Base, a Class C felony. This offense carried a statutory maximum

 imprisonment term of twenty (20) years. The guideline imprisonment range, based on a total offense

 level of 21 and a criminal history category of I, was 37 to 46 months. Carl Chance was subsequently

 sentenced to thirty-seven (37) months in prison followed by two (2) years supervised release subject

 to the standard conditions of release, plus special conditions to include his participation in a program

 of testing and treatment for drug abuse as directed by the probation officer, and his provision to the

 probation officer of access to any requested financial information for the purpose of monitoring his

 ability to obtain and maintain employment. On February 24, 2006, Carl Chance completed his

 period of imprisonment and began service of the supervision term.
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        On April 19, 2007, the instant petition to revoke was filed. In its petition, the government

 alleges the defendant violated the following conditions:

        1) The defendant shall report to the probation officer as directed by the court or probation

 officer, and shall submit a truthful and complete written report within the first five days of each

 month. Specifically, the government alleges as follows: the defendant failed to submit a written

 report form for the months of October, November, and December of 2006; January, February, and

 March of 2007. The defendant failed to report to the probation department on October 26, 2006, and

 November 1, 2006.

        2) The defendant shall notify the probation officer ten days prior to any change of residence

 or employment. Specifically, the government alleges as follows: Mr. Carl Chance has absconded,

 and his current address is unknown. His last address noted was at Motel 6, Gentry Parkway, Room

 216, Tyler, Texas 75712. On October 19, 2006, a certified letter was mailed to the offender

 instructing him to report to the probation department. That letter was returned marked as “not

 deliverable as addressed.” On October 27, 2006, a certified letter was mailed to the offender’s

 parents’ address in an attempt to locate him; however, the letter was signed by a family member,

 Annie Chance, but the offender never responded to the letter. On October 25, 2006, a home visit

 was conducted. His sister, Tiffany Chance, reported that Mr. Chance was still in the area and would

 come by the house from time to time, but that she was not award of his living arrangements. She

 stated she would let Mr. Chance know that he should contact the probation department as soon as

 possible. A message was left that Mr. Chance would soon have a space at the residential community

 center and that he must report to the center upon notification of placement.




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         3) The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,

 use, distribute, or administer any narcotic or other controlled substance, or any paraphernalia related

 to such substances, except as prescribed by a physician. Specifically, the government alleges as

 follows: on August 8, 2006, Mr. Chance submitted a urine sample which tested positive for

 marijuana and codeine. On this same date, the offender admitted to smoking marijuana and taking

 codeine.

         4) The defendant shall reside in a residential reentry center or similar facility, in a prerelease

 component for a period of 180 days, to commence upon release from confinement and shall observe

 the rules of that facility. Specifically, the government alleges as follows: the defendant failed to

 report to the center on November 1, 2006.

         The court scheduled a revocation hearing for May 22, 2007. At the hearing on the

 government’s petition, and after consenting to the undersigned’s taking the plea, the defendant pled

 true to the all of the allegations as set forth above. Based on the defendant’s plea of true to the

 allegations, and with no objection by the defendant or the government, the court found that the

 defendant did violate his conditions of supervised release as alleged in the U.S. Probation Office’s

 petition.

         The court thereafter recommended that the defendant be committed to the custody of the

 Bureau of Prisons to be imprisoned for a term of twelve (12) months. Based on the foregoing, it is

         RECOMMENDED that the defendant’s plea of true to all of the allegations as set forth in

 the government’s petition be ACCEPTED. It is further

         RECOMMENDED that the defendant’s supervised release be REVOKED. It is further

         RECOMMENDED that the defendant be committed to the custody of the Bureau of Prisons


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 to be imprisoned for a term of twelve (12) months, with no term of supervised release to follow such

 term of imprisonment.

        A party's failure to file written objections to the findings, conclusions and recommendations

 contained in this Report within ten days after being served with a copy shall bar that party from de

 novo review by the district judge of those findings, conclusions and recommendations and, except

 on grounds of plain error, from appellate review of unobjected-to factual findings and legal

 conclusions accepted and adopted by the district court. Douglas v. United States Auto. Ass’n, 79

 F.3d 1415, 1430 (5th Cir. 1996) (en banc).

        SIGNED this 24th day of May, 2007.




                                                      ___________________________________
                                                      CHARLES EVERINGHAM IV
                                                      UNITED STATES MAGISTRATE JUDGE




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